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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

S. L.                                           )
                                                )
             Plaintiff,                         )
                                                )
v.                                              )      Case No. 4:10-CV-2163 CEJ
                                                )
ST. LOUIS METROPOLITAN                          )
POLICE DEPARTMENT BOARD OF                      )
POLICE COMMISSIONERS, et al.,                   )
                                                )
             Defendants.                        )




                    STIPULATION OF PREJUDICIAL DISMISSAL

       The plaintiff, S.L., hereby stipulates that the above-entitled cause and all actions
stated therein is to be dismissed with prejudice pursuant to Rule 41(a)(1)(ii) as to all
defendants. Plaintiff and Defendants stipulate that each party shall bear its own costs and
attorneys’ fees.


                                                CHRIS KOSTER
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                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 6, 2014, the foregoing was filed
electronically with the Clerk of the Court to be served by operation of the Court’s electronic
filing system upon all counsel of record.

      The undersigned further certifies that on June 6, 2014, the foregoing was mailed by
U.S. Postal Service to the following non-participant in Electronic Case Filing:

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St. Louis, MO 63137

                                                  /s/Jeffrey B. Jensen
                                                  JEFFREY B. JENSEN, #46745MO
                                                  Attorney for Plaintiff




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